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 9
                                IN THE UNITED STATES DISTRICT COURT
10                                  FOR THE DISTRICT OF ARIZONA

11
     United States of America,                          NO. CR-18-00422-PHX-SMB
12
                              Plaintiff,                MOTION FOR LEAVE FOR COUNSEL
13
     vs.                                                TO APPEAR BY PHONE OR
14                                                      VIDEOCONFERENCING AT MAY 22,
     Michael Lacey, et al.,                             2023 HEARING
15
                         Defendants.
16

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19           NOW COMES the Defendant, Michael Lacey, by his attorney of record, to ask the Court

20   to grant leave for his lawyer to appear by phone or videoconferencing at the May 22, 2023 Hearing

21   in this matter. As good cause therefore, the Defendant submits the following:

22           Mr. Lacey’s counsel has an unmoveable personal conflict. His daughter’s college graduation

23   is on May 20, 2023, after which, counsel will host a graduation party on the evening of May 21, 2023.

24   Additionally, counsel will be hosting out-of-town guests at the time of the May 22, 2023 Hearing. It

25   is not possible to travel to and from the District of Arizona for the May 22, 2023 Hearing and attend

26   these very important family milestones.

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 1           Further, because the government has seized the majority of Mr. Lacey’s assets, and the
 2   limited pool of assets available for trial costs was substantially depleted during the first trial in this
 3   case, assets necessary for travel and accomodations are in short supply and need to be preserved for
 4   the upcoming trial.
 5           The Government does not object to this Motion.
 6           The Court will find attached a proposed Order.
 7           RESPECTFULLY SUBMITTED this 8th day of May, 2023,
 8
                                               Paul J. Cambria, Jr.
 9
                                               LIPSITZ GREEN SCIME CAMBRIA LLP
10
                                               By:   /s/ Paul J. Cambria, Jr.
11                                                   Paul J. Cambria, Jr.
12                                                   Attorneys for Michael Lacey

13   On May 8, 2023, a PDF version
     of this document was filed with
14
     Clerk of the Court using the CM/ECF
15   System for filing and for Transmittal
16   Of a Notice of Electronic Filing to the
     Following CM/ECF registrants:
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